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                  IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

             Plaintiff,

      vs.                                            No. 1:25-mj-02599

ARMONDO PAUL,

             Defendant
            ORDER TOLLING SPEEDY TRIAL COMPUTATION

      The Court, having reviewed Defendant’s Unopposed Motion to Continue

Grand Jury Presentment (ECF No. 13), finds the ends of justice served by allowing

the request to toll the speedy indictment computation for a period of 60 days

outweigh the interests of the defendant and the interest of the public in a speedy

indictment. The Court finds that tolling the speedy indictment computation will

substantially increase the likelihood of the parties reaching a settlement in this case

that would avoid the need for a trial. The Court expressly finds that the public’s

interest in a speedy indictment is outweighed by (1) the public’s interest in a

reasonably expeditious resolution of the case; (2) the public’s interest in relieving

the burden that would be placed on judicial, prosecutorial, defense, and law

enforcement resources if the case proceeded to trial; and (3) the potential benefit

conferred upon the defendant in an expedited resolution of the case.
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      IT IS THEREFORE ORDERED, ADJUDGED, and DECREED that a period

of time not to exceed 60 days, for a total of 90 days—which expires September 25,

2025—is hereby excluded from the computation of a speedy indictment pursuant to

18 U.S.C. § 3161 (b) and (h)(7)(A).



                               _____________________________________
                               UNITED STATES MAGISTRATE JUDGE
